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   STATE OF COLORADO, ss:

           I,     Cheryl Stevens , Clerk of the Supreme Court of t h e S t a t e
   o f Colorado, do hereby certify that
                         MICHAEL STEPHEN FREEMAN


has been duly licensed and admitted to practice as an


     ATTORNEY AND COUNSELOR AT LAW

within this State; and that his/her name ap pears upon the Roll of Attorneys

 a nd Counselors at Law in my office of date the                   30th

day of      October                           A.D.      1998      and that at the date hereof

the said        MICHAEL STEPHEN FREEMAN                                is in good standing a t

this Bar.


                             IN WITNESS WHEREOF, I have hereunto subscribed my name and
                             affixed the Seal of said Supreme Court, at Denver, in said State, this

                                   10th       day of           June                      A.D.   2022
